ILND 44 (Rev. 09/20)                              CIVIL COVER
                             Case: 3:21-cv-50408 Document          SHEET
                                                          #: 1 Filed: 10/25/21 Page 1 of 1 PageID #:1
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                   DEFENDANTS
         Dontae Johnson                                                                                             Village of Lyndon


   (b)   County of Residence of First Listed Plaintiff Whiteside                                                    County of Residence of First Listed Defendant
                                     (Except in U.S. plaintiff cases)                                                 (In U.S. plaintiff cases only)
                                                                                                                       Note: In land condemnation cases, use the location of the tract of land involved.

   (c)   Attorneys (firm name, address, and telephone number)                                                         Attorneys (If Known)
         Stephen T. Fieweger 5157 Utica Ridge Road Davenport, IA 52807                                               Lori A Vanderlaan and Allie M. Burnet Best Vanderlaan & Harrington
         (563)424-1982                                                                                               25 E. Washington Street Suite 800 Chicago, Illinois 60602
                                                                                                                     (312)819-1100

II. BASIS OF JURISDICTION (Check one box, only.)                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                             (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                   ■   3     Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                   (U.S. Government not a party.)                                                                                Incorporated or Principal Place of
                                                                                                               Citizen of This State            1           1                                          4       4
                                                                                                                                                                Business in This State

  2 U.S. Government                       4     Diversity                                                     Citizen of Another State       2           2    Incorporated and Principal Place          5      5
      Defendant                                   (Indicate citizenship of parties in Item III.)                                                              of Business in Another State

                                                                                                              Citizen or Subject of a
                                                                                                                                             3           3    Foreign Nation                            6      6
                                                                                                              Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
          CONTRACT                                                    TORTS                                        PRISONER PETITIONS                       LABOR                         OTHER STATUTES
                                                                                                                  510 Motions to Vacate               710 Fair Labor Standards
  110 Insurance                                 PERSONAL INJURY                    PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                          Act
                                                                                                                  530 General                                                           376 Qui Tam (31 USC
  120 Marine                              310 Airplane                     530 General                                                                720 Labor/Management
                                                                                                                                                                                             3729 (a))
                                          315 Airplane Product Liability
                                                                           367 Health Care/                       535 Death Penalty                          Relations
                                          320 Assault, Libel & Slander                                                                                                                  400 State Reapportionment
                                                                               Pharmaceutical
  130 Miller Act                          330 Federal Employers'               Personal Injury
                                               Liability                       Product Liability
                                                                                                                  Habeas Corpus:                      740 Railway Labor Act             410 Antitrust
  140 Negotiable Instrument               340 Marine                       368 Asbestos Personal                 540 Mandamus & Other                 751 Family and Medical            430 Banks and Banking
  150 Recovery of Overpayment             345 Marine Product Liability         Injury Product                    550 Civil Rights                          Leave Act                    450 Commerce
       & Enforcement of Judgment          350 Motor Vehicle                    Liability                         555 Prison Condition                 790 Other Labor Litigation        460 Deportation
  151 Medicare Act                        355 Motor Vehicle Product                                              560 Civil Detainee -                 791 Employee Retirement           470 Racketeer Influenced
  152 Recovery of Defaulted                   Liability                  PERSONAL PROPERTY                            Conditions                                                             and Corrupt
                                                                                                                                                             Income Security Act
       Student Loan                       360 Other Personal Injury                                                   of Confinement                                                        Organizations
      (Excludes Veterans)                 362 Personal Injury - Medical    370 Other Fraud                                                                                              480 Consumer Credit
  153 Recovery of Veteran’s                   Malpractice                                                                                             PROPERTY RIGHTS
                                                                           371 Truth in Lending                                                                                         485 Telephone Consumer
      Benefits                                                                                                                                        820 Copyright
  160 Stockholders’ Suits                                                          380 Other Personal                                                 830 Patent                             Protection Act (TCPA)
  190 Other Contract                                                                   Property Damage                                                835 Patent - Abbreviated          490 Cable/Sat TV
  195 Contract Product Liability                                                   385 Property Damage                                                    New Drug Application          850 Securities/Commodities/
  196 Franchise                                                                        Product Liability                                              840 Trademark                         Exchange
                                                                                                                                                      880 Defend Trade Secrets          890 Other Statutory Actions
                                                                                                                                                          Act of 2016 (DTSA)            891 Agricultural Arts
      REAL PROPERTY                            CIVIL RIGHTS                         BANKRUPTCY                    FORFEITURE/PENALTY                  SOCIAL SECURITY                   893 Environmental Matters
   210 Land Condemnation                  440 Other Civil Rights                   422 Appeal 28 USC 158          625 Drug Related Seizure            861 HIA (1395ff)                  895 Freedom of Information
                                                                                   423 Withdrawal                     of Property                     862 Black Lung (923)                  Act
   220 Foreclosure                        441 Voting                                                                  21 USC 881
   230 Rent Lease & Ejectment             442 Employment                                 28 USC 157               690 Other                           863 DIWC/DIWW                     896 Arbitration
                                                                                                                                                             (405(g))                   899 Administrative
   240 Torts to Land                      443 Housing/Accommodations                                                                                                                        Procedure
   245 Tort Product Liability             445 Amer. w/ Disabilities-                IMMIGRATION                                                       864 SSID Title XVI                    Act/Review or Appeal of
   290 All Other Real Property                Employment                           462 Naturalization                                                 865 RSI (405(g))                      Agency Decision
                                          446 Amer. w/Disabilities -                    Application                                                                                     950 Constitutionality of
                                              Other                                463 Habeas Corpus –                                                 FEDERAL TAXES                        State Statutes
                                           448 Education                               Alien Detainee                                                 870 Taxes (U.S. Plaintiff
                                                                                       (Prisoner Petition)                                                  or Defendant
                                                                                   465 Other Immigration                                              871 IRS—Third Party
                                                                                        Actions                                                           26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                2 Removed from                     3   Remanded from                   4 Reinstated                           5 Transferred                  6 Multidistrict          8 Multidistrict
    Proceeding                State Court                          Appellate Court                   or Reopened                            from Another                   Litigation -             Litigation -
                                                                                                                                            District                       Transfer                 Direct File
                                                                                                                                           (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                                VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                             423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                           a judge of this Court. Use a separate attachment if necessary.)
 Removal of Plaintiff Title VII and Section 1981 claims
VIII. REQUESTED IN                 Check if this is a class action under Rule 23,     Demand $                      CHECK Yes only if demanded in complaint:
       COMPLAINT:                  F.R.CV.P.                                                                        Jury Demand:      Yes           No                         ■


IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                           Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No If yes, Case #  ■          Name of Judge
      October 25, 2021
Date: ___________________________________________                                                   /s/ Allie M. Burnet
                                                                    Signature of Attorney of Record ______________________________________________
